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      Service and Realty LLC
 9
10
                             UNITED STATES DISTRICT COURT

11                                     DISTRICT OF ARIZONA

12
     :MICHAEL J. BROSNAHAN,                        No. CV-16-08277-PCT-DLR
13

14                        Plaintiff,
15
                                                   STIPULATION AND JOINT
              V.
                                                   MOTION TO EXTEND TIME TO
                                                   COMMENCE DISCOVERY AND
16                                                 POSTPONE THE RULE 16
     CALIBER HOME LOANS, INC., et al.              HEARING
17
                          Defendants.
18                                                 (Honorable Douglas L. Rayes)
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20

21
              Plaintiff Michael J. Brosnahan, Consumer, appearing pro se, and Defendants
22
     Caliber Home Loans, Inc., LSF9 Master Participation Trust, and Summit Service and
23
     Realty LLC (collectively "Defendants"), by and through their counsel, hereby jointly
24
     request, agree and stipulate that discovery in this matter need not commence until the
25
     Court rules on the fully briefed motion to dismiss [Doc. 14] that is presently before the
26
     Court.
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      Case 3:16-cv-08277-DLR Document 21 Filed 03/20/17 Page 2 of 3


 1          The parties also jointly request and stipulate to the postponement of the Rule 16
 2   hearing, currently scheduled for April 14, 2017 at 9:00 a.m., to be rescheduled by the
 3   Court at a time after which the Court has ruled on the fully briefed motion to dismiss

 4   [Doc. 14] that is presently before the Court.           The parties further stipulate to a
 5   corresponding postponement of initial disclosures, commencement of discovery and the
 6   parties' Rule 26(f) meeting and discovery plan until after the ruling on the motion to
 7   dismiss, on dates to be scheduled by the Court.
 8          In light of this stipulation, Plaintiff and Defendants jointly request and move that
 9   the Court enter the attached proposed order.
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     Dated: March 20, 2017
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     Dated: March 20, 2017                            PERKINS COIE LLP
14

15                                                             Kendra
                                                      By: _/s_/_ _ __ L. Haar
                                                                          _ _ _ _ _ __
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16                                                        Kendra L. Haar
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                                                      Attorneys for Defendants Caliber Home
19                                                    Loans, LSF9 Master Participation Trust,
                                                      and Summit Service and Realty LLC
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                                                    -2-                 No. CV-16-08277-PCT-DLR
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 1                               CERTIFICATE OF SERVICE
 2          ~     I hereby certify that on March 20, 2017, I electronically transmitted the
 3   attached documents to the Clerk's Office using the CM/ECF System for filing and
 4   transmittal of a Notice of Electronic Filing to the following CM/ECF registrant:
 5                         Michael J.Brosnahan(mtk63@hotmail.com)
 6

 7                                              Susan
                                              d -
                                              -    - Carnall
                                                      - - --
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